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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

 United States of America                                  Civil Action No. 6:00-cr-60029-01

 versus                                                            Judge Tucker L. Melançon

 Cotton                                                     Magistrate Judge Patrick J. Hanna

                         CERTIFICATE AS TO APPEALABILITY

          After considering the record in this case and the requirements of 28 U.S.C. § 2253,

 this Court hereby finds that a certificate of appealability is DENIED because the petitioner

 has failed to demonstrate a substantial showing of the denial of a constitutional right.

          Thus done and signed this 5 th day of July, 2011 at Lafayette, Louisiana.
